             Case 2:22-cv-02773-RBS Document 1 Filed 07/18/22 Page 1 of 11




                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


     GWENDOLYN PURNELL,                                 CIVIL ACTION NO.

                                    Plaintiff,


                           v.

     GOODLEAP, LLC; SUNRUN INC.; VIVINT
     SOLAR, INC.; VIVINT SOLAR DEVELOPER,
     LLC; AND LEROI TAYLOR,


                                     Defendants.

                                   NOTICE OF REMOVAL

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

        PLEASE TAKE NOTICE that Defendants Sunrun Inc. (“Sunrun”), Vivint Solar

Developer, LLC (“Vivint Solar Development”), Vivint Solar, Inc. (“Vivint Solar”), GoodLeap,

LLC (“GoodLeap”), and Leroi Taylor (“Mr. Taylor”) (collectively, “Defendants”), by and through

their respective undersigned attorneys, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, hereby file

this Notice of Removal with respect to the above-captioned action, which was filed and is currently

pending in the Philadelphia County Court of Common Pleas. In support of this Notice of Removal,

Defendants state as follows:

I.      BACKGROUND AND TIMELINESS

        1.       On or about May 2, 2022, Plaintiff Gwendolyn Purnell filed a Complaint in the

Philadelphia County Court of Common Pleas captioned as Gwendolyn Purnell v. GoodLeap LLC,

Sunrun Inc., Vivint Solar, Inc., and Vivint Solar Developer, LLC, Case No. 220500085 (the “Initial

State Court Action”).
             Case 2:22-cv-02773-RBS Document 1 Filed 07/18/22 Page 2 of 11




        2.       Defendants timely removed the Initial State Court Action to this Court on June 1,

2022. A copy of the docket in Purnell v. GoodLeap, LLC, et al., No. 22-cv-02127 is attached

hereto as Exhibit A.

        3.       Thereafter, on June 7, 2022, Defendants Sunrun, Vivint Solar Developer, and

Vivint Solar filed a Motion to Compel Arbitration. Ex. A at Doc. No. 7.

        4.       Ms. Purnell did not oppose the Motion to Compel Arbitration. Indeed, on June 7,

the same day that Defendants Sunrun, Vivint Solar Developer, and Vivint Solar filed their Motion

to Compel Arbitration, Ms. Purnell voluntarily dismissed her action without prejudice pursuant to

Fed. R. Civ. P. 41(a)(1)(A)(i) and Local Rule 41.1(b). Id. at Doc. No. 8.

        5.       Ms. Purnell, however, did not commence an arbitration proceeding.

        6.       Instead, on June 17, 2022, she re-filed her Complaint in Philadelphia County Court

of Common Pleas captioned as Gwendolyn Purnell v. GoodLeap LLC, Sunrun Inc., Vivint Solar,

Inc., Vivint Solar Developer, LLC, and Leroi Taylor, Case No. 2206037538 (the “Current State

Court Action”). Copies of all “summons, pleadings, and orders” available on the docket in the

Current State Court Action are attached hereto as Exhibit B. See 28 U.S.C. § 1446(a).

        7.       The allegations in the Complaint filed in the Current State Court Action are

substantively identical to those in the Complaint filed in the Initial State Court Action. To that

end, in her current Complaint, Ms. Purnell claims that Defendants engaged in unfair or deceptive

acts or practices in violation of the Pennsylvania Unfair Trade Practices and Consumer Protection

Law, 73 P.S. § 201-2(4), et seq. (“UTPCPL”), and the Pennsylvania Fair Credit Extension

Uniformity Act, 73 P.S. § 2270.3, et seq. (“FCA”). See Ex. B, Compl. The Complaint also seeks

declaratory relief and asserts common law causes of action for trespass, conversion, and slander

of title. Id.



                                                 2
            Case 2:22-cv-02773-RBS Document 1 Filed 07/18/22 Page 3 of 11




       8.       Indeed, the only substantive difference between the Initial State Court Action and

the Current State Court Action was the addition of Mr. Taylor as a Defendant, who is a

Pennsylvania resident, in a fraudulent attempt to destroy diversity and avoid removal. Ms. Purnell

alleges in her Complaint that Mr. Taylor was “the sales agent who at all times relevant acted on

behalf of and at the behest of Vivint and Goodleap.” Ex. B, Compl. at ¶ 11.

       9.       According to the state court docket, Ms. Purnell served GoodLeap with the

Complaint by registered mail on June 27, 2022. See Ex. B, Aff. of Service on GoodLeap.

       10.      According to the state court docket, Ms. Purnell served Vivint Solar with the

Complaint by registered mail on June 30, 2022. See Ex. B, Aff. of Service on Vivint Solar.

       11.      According to the state court docket, Ms. Purnell served Sunrun with the Complaint

by registered mail on June 30, 2022. See Ex. B, Aff. of Service on Sunrun.

       12.      According to the state court docket, Ms. Purnell served Vivint Solar Developer with

the Complaint by registered mail on June 30, 2022. See Ex. B, Aff. of Service on Vivint Solar

Developer.

       13.      According to the state court docket, Ms. Purnell served Mr. Taylor with the

Complaint by personal service on June 30, 2022. See Ex B, Aff. of Service on Taylor.

       14.      Accordingly, this Notice of Removal is filed within thirty (30) days of receipt of

the Complaint by all Defendants in accordance with 28 U.S.C. § 1446(b).

II.    THE ACTION IS REMOVABLE BASED ON DIVERSITY JURISDICTION

       15.      Pursuant to 28 U.S.C. § 1332(a), “[t]he district courts shall have original

jurisdiction of all civil actions where the matter in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs, and is between . . . citizens of different States.”

       16.      The requirements of 28 U.S.C. § 1332(a) have been met because, as set forth below,



                                                   3
           Case 2:22-cv-02773-RBS Document 1 Filed 07/18/22 Page 4 of 11




nothwistanding Ms. Purnell’s attempt to destroy diversity by fraudulently joining Mr. Taylor,

there is complete diversity of citizenship among the parties and the amount in controversy exceeds

$75,000, exclusive of interest and costs.

    A.         The Properly Joined Parties are Diverse
         17.      Ms. Purnell alleges that she resides in Philadelphia, Pennsylvania, and is therefore

a citizen and resident of the Commonwealth of Pennsylvania. See Ex. B, Compl. at ¶3.

         18.      28 U.S.C. § 1332 defines corporate citizenship as follows: “a corporation shall be

deemed to be a citizen of every State and foreign state by which it has been incorporated and of

the State or foreign state where it has its principal place of business[.]” 28 U.S.C. § 1332(c).

         19.      A corporation’s principal place of business is the place where the corporation’s

officers direct, control and coordinate the corporation’s activity, and, in practice, that place “should

normally be the place where the corporation maintains its headquarters.” Hertz Corp. v. Friend,

559 U.S. 77, 92-93 (2010).

         20.      Sunrun is a Delaware corporation with its principal place of business in California.1

Sunrun is therefore a citizen of the States of California and Delaware for purposes of diversity.

         21.      Vivint Solar is a Delaware corporation with its principal place of business in

California.2 Vivint Solar is therefore a citizen of the States of California and Delaware for

purposes of diversity.

         22.      A limited liability company’s citizenship for diversity purposes is determined by

the citizenship of all of its members. Zambelli Fireworks Mfg. Co., Inc. v. Matthew Wood, et al.,


1
      Ms. Purnell alleges that Sunrun’s principal place of business is in California. See Ex. B,
Compl. at ¶5.
2
        Ms. Purnell alleges that Vivint Solar is incorporated in Delaware and that its principal place
of business is in California. See Ex. B, Compl. at ¶7.

                                                    4
          Case 2:22-cv-02773-RBS Document 1 Filed 07/18/22 Page 5 of 11




592 F.3d 412, 420 (3d Cir. 2010). In Lincoln Benefit Life Co. v. AEI Life, LLC, the Third Circuit

concluded that a party can satisfy its burden of establishing complete diversity of citizenship by

affirmatively pleading that the defendant limited liability company is not a citizen of the plaintiff’s

state of citizenship. 800 F.3d 99, 106 (3d Cir. 2015).

       23.     Here, Vivint Solar Developer and its members are citizens of the States of

California and Delaware for purposes of diversity. Vivint Solar Developer is a wholly-owned

subsidiary of Vivint Solar Operations, LLC, which is a Delaware limited liability company. Vivint

Solar Developer’s only member is Vivint Solar Operations, LLC. Vivint Solar Operations LLC is

a wholly-owned subsidiary of Vivint Solar Holdings, Inc., which is a Delaware corporation with a

principal place of business in California.3 Vivint Solar Operations LLC’s only member is Vivint

Solar Holdings, Inc.

       24.     In addition, GoodLeap and its members are citizens of the States of California,

Delaware, and Texas, for purposes of diversity. Declaration of David Dixon, Esq., which is

attached hereto as Exhibit C, at ¶5. GoodLeap has five members: GoodLeap Paramount GR

Holdings, LLC, a California LLC; Paramount Owner Holding Company, Inc., a Delaware

corporation with a principal place of business in California; Hayes Barnard, a natural person

residing in Texas; Tanguy Serra, a natural person residing in California; and Matthew Dawson, a

natural person residing in California. Id. at ¶6. GoodLeap Paramount GR Holdings, LLC, has two

members: Paramount Owner Holding Company Inc., a Delaware corporation with a principal place

of business in California, and BKM Holdings LLC, a California LLC. Id. at ¶7. The sole member




3
       Ms. Purnell alleges that Vivint Solar Developer is incorporated in Delaware and that its
principal place of business is in California. See Ex. B, Compl. at ¶8.

                                                  5
           Case 2:22-cv-02773-RBS Document 1 Filed 07/18/22 Page 6 of 11




of BKM Holdings LLC is Hayes Barnard.4 Id. at ¶8.

         25.      This Court should disregard Ms. Purnell’s belated and fraudulent attempt to join

Mr. Taylor as a defendant. Ms. Purnell only joined Mr. Taylor, who she alleges was an agent of

Vivint and GoodLeap, after Defendants properly and timely removed the Initial State Court

Action. Ms. Purnell has no real intention in good faith to prosecute this action against Mr. Taylor

or to seek a joint judgment against Mr. Taylor.5 Thus, this Court should not consider Mr. Taylor’s

citizenship when evaluating whether diversity exists. See In re Briscoe, 448 F.3d 201, 215-16 (3d

Cir. 2006); accord Moore v. Johnson & Johnson, 907 F.Supp.2d 646 (E.D. Pa. 2012) (where, in a

lawsuit against a Tylenol manufacturer, plaintiffs joined the Costco store that sold them Tylenol

for the sole purpose of defeating federal jurisdiction, the district court disregarded Costco’s

citizenship, maintained subject matter jurisdiction over the action, and denied plaintiffs’ motion to

remand).

    B.         The Amount in Controversy Exceeds $75,000
         26.      The burden is on the defendant, as the moving party with respect to the removal of

this case to federal court, to show that based on the allegations in the complaint and the defendant's

knowledge at the time of removal the amount in controversy is over the $75,000 statutory

minimum. Meritcare Inc. v. St. Paul Mercury Ins. Co., 166 F.3d 214, 217 (3d Cir.1999).

         27.      The Third Circuit instructs that in determining the amount in controversy, the

Court must aggregate the claims brought by Plaintiff in her Complaint. See Suber v. Chrysler

Corp., 104 F.3d 578, 588 (3d Cir. 2003) (“The general rules is that claims brought by a single


4
      Ms. Purnell alleges that GoodLeap’s principal place of business is in California. See Ex.
B, Compl. at ¶4.
5
        In addition, Ms. Purnell’s claims against Mr. Taylor may be barred by the applicable statute
of limitations.

                                                  6
          Case 2:22-cv-02773-RBS Document 1 Filed 07/18/22 Page 7 of 11




plaintiff against a single defendant can be aggregated when calculating the amount in controversy,

regardless of whether the claims are related to each other.”).

       28.     Ms. Purnell’s Complaint seeks statutory damages, actual damages, and treble

damages regarding a solar facility valued at $18,900.00. See Ex. B, Compl. at ¶2. Trebled, the

value of the solar facility, without any other damages, is $56,700.00. See Suber v. Chrysler Corp.,

104 F.3d 578, 585 (3d Cir. 1997) (finding that trial court properly included the sticker price of the

vehicle at issue in the amount in controversy).

       29.     In addition to her damages, Ms. Purnell is also seeking attorneys’ fees under the

UTPCPL. Her future attorneys’ fees incurred after filing the Complaint should be included in the

amount in controversy calculation. It is well settled in the Third Circuit that prospective attorney’s

fees are properly be included in the amount in controversy.               See id. (“in calculating

the amount in controversy, we must consider potential attorney's fees”); see also Espinoza v. Atlas

Railroad Constr., LLC, 657 Fed. Appx. 101, 103 n. 3 (3d Cir. 2016) (The amount in controversy

exceeded $75,000 based primarily on the amount of attorney's fees that would be awarded if the

plaintiff prevailed); Roth v. US LEC of Pa., Inc., No. 05-cv-4452, 2005 WL 2340468, at *3 (E.D.

Pa., Sept. 23, 2005) (“Although 28 U.S .C. § 1332 excludes ‘interests and costs’ from the amount

in controversy, attorney's fees are necessarily part of the amount in controversy if [they] are

available to successful plaintiffs under the statutory cause of action.”) (internal quotation and

citation omitted).

       30.     The amount in controversy is “not measured by the low end of an open-ended claim,

but rather by a reasonable reading of the value of the rights being litigated.” Angus v. Shiley, Inc.,

989 F.2d 142, 146 (3d Cir. 1993). Here, a reasonable interpretation of Ms. Purnell’s requested

relief, including the request for attorney’s fees, makes it clear that the amount requested exceeds



                                                  7
         Case 2:22-cv-02773-RBS Document 1 Filed 07/18/22 Page 8 of 11




the $75,000 threshold. See 28 U.S.C. § 1446(c)(2)(A)(ii) (the notice of removal may assert the

amount in controversy where state pleading practice permits, as here, the recovery of damages in

excess of the amount demanded); see also In re Intel corp. Microprocessor Antitrust Litig., 2006

WL 1431214, at *2 (D. Del., May 22, 2006) (internal quotation and citation omitted) (“Once the

proponent of jurisdiction has set out the amount in controversy, only a ‘legal certainty’ that

the judgment will be less forecloses federal jurisdiction.”). Thus, the amount in controversy

exceeds the $75,000 threshold for proceeding before this Court on diversity grounds.6

       31.     Because this action is between citizens of different states and the amount in

controversy exceeds the sum or value of $75,000, exclusive of interest and costs, this Court has

original jurisdiction over this action pursuant to 28 U.S.C. § 1332. Accordingly, this action is

removable to this Court pursuant to 28 U.S.C. § 1441(a).

III.   VENUE AND NOTICE

       32.     Removal is appropriate “to the district court of the United States for the district and

division embracing the place where such action is pending.” 28 U.S.C. § 1441(a). Pursuant to 28

U.S.C. § 101, this Court embraces the Court of Common Pleas of Philadelphia County. This Court

is therefore the appropriate venue for removal of this action. See 28 U.S.C. § 1441(a).

       33.     Pursuant to 28 U.S.C. § 1446(d), written notice of the removal of this action shall

be promptly served upon Ms. Purnell and a Notice of Filing will be filed with the Office of Judicial


6
        In providing an assessment of Ms. Purnell’s claims for purposes of establishing diversity
jurisdiction, Defendants make no concession of liability and no concession that Ms. Purnell is
owed any damages. Schor v. State Farm Fire and Cas. Ins. Co., 2015 WL 1230200, at *4 n. 1
(E.D. Pa., Mar. 18, 2015) (a defendant's concession as to the amount in controversy pled in the
complaint does not translate into a concession as to the merits or adequacy of the plaintiff's
pleading or an admission that the defendant acted in bad faith). Defendants dispute that Ms.
Purnell is entitled to any recovery in this matter and dispute Ms. Purnell’s allegations regarding
any violation of Pennsylvania law.

                                                 8
         Case 2:22-cv-02773-RBS Document 1 Filed 07/18/22 Page 9 of 11




Records of the Court of Common Pleas of Philadelphia County, Pennsylvania. A true and accurate

copy of the proposed Notice of Filing of Notice of Removal is attached hereto as Exhibit D.

IV.    CONCLUSION

       34.     For all of the foregoing reasons, this Court has original jurisdiction over this action

pursuant to 28 U.S.C. § 1332 and this Court properly may exercise jurisdiction over this lawsuit

pursuant to 28 U.S.C. § 1441(a).

       35.     Defendants submit this Notice of Removal without waiving any defenses to the

claims asserted by Ms. Purnell, without conceding that Ms. Purnell has pleaded claims upon which

relief can be granted, and without admitting that Ms. Purnell is entitled to any monetary or

equitable relief whatsoever (or that the damages she seeks may be properly sought). See Schor,

2015 WL 1230200.

       36.     Should Ms. Purnell seek to remand this case to state court, Defendants respectfully

request to be permitted to brief and argue the issue of this removal prior to any order remanding

this case. In the event the Court decides remand is proper, Defendants respectfully request that

the Court retain jurisdiction and allow Defendants to file a motion asking this Court to certify any

remand order for interlocutory review by the Third Circuit Court of Appeals, pursuant to 28 U.S.C.

§ 1292(b).




                                                 9
         Case 2:22-cv-02773-RBS Document 1 Filed 07/18/22 Page 10 of 11




       WHEREFORE, Defendants submit that this action properly is removable based on

diversity jurisdiction and respectfully shows that the above-described action pending against it has

been removed to the United States District Court for the Eastern District of Pennsylvania.

                                              Respectfully submitted,

                                              BUCHANAN INGERSOLL & ROONEY PC
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                                              Attorneys for Defendants Sunrun Inc., Vivint Solar
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                                                10
        Case 2:22-cv-02773-RBS Document 1 Filed 07/18/22 Page 11 of 11




                                CERTIFICATE OF SERVICE

       I hereby certify that on July 18, 2022, I caused a copy of the foregoing document to be

served upon the following by electronic mail and U.S. First Class Mail, postage pre-paid:

                      Peter D. Schneider
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                                                    /s/ Samantha L. Southall
                                                       Samantha L. Southall




                                               11
